       Case 1:23-cv-00903-KWR-JFR Document 5 Filed 10/19/23 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 SAN MIGUEL HOSPITAL CORPORATION,
 d/b/a ALTA VISTA REGIONAL HOSPITAL, on
 behalf of itself and all others similarly situated,

                          Plaintiff,                    Case No. 1:23-cv-00903-KRS-JFR
 v.

 JOHNSON & JOHNSON, ET AL.

                          Defendants.

                      Notice of Good Standing for Admission Pro Hac Vice

       I, John W. (“Don”) Barrett, hereby certify that I am an attorney in good standing in the

following bars:

                                 Court                      Admission Date
                      Mississippi Bar No. 2063                 5/15/1969
                   Southern District of Mississippi            12/19/1991
                   Northern District of Mississippi            5/29/1969
                     Mississippi Supreme Court                 6/02/1969
                     Southern District of Illinois             11/22/1999
                      Northern District of Ohio                1/29/2009
                    U.S. Court of Federal Claims               10/07/1974
                    Eastern District of Tennessee              4/22/1993
                     Eastern District of Arkansas              5/26/2000
                    Western District of Arkansas               5/26/2000
                     Northern District of Florida              12/06/2004
                    Western District of Tennessee              8/15/2007
                    Eastern District of Wisconsin              6/29/2009
                     Eastern District of Michigan              6/15/2012
                  U.S. Court of Appeals for the Fifth
                                                               1/19/2010
                                Circuit
       Case 1:23-cv-00903-KWR-JFR Document 5 Filed 10/19/23 Page 2 of 2




              U.S. Court of Appeals for the First
                                                               12/16/2010
                             Circuit
                 U.S. Court of Appeals for the
                                                                2/08/1994
                          Third Circuit
                      U.S. Supreme Court                       11/02/2015

       There are no pending disciplinary proceedings against me in any state or federal court. I

have never been convicted of a felony. I have never been censured, suspended, disbarred, or

denied admission or readmission by any court.

Dated: October 19, 2023                              /s/ Don Barrett
                                                     John W. (“Don”) Barrett
                                                     BARRETT LAW GROUP, P.A.
                                                     404 Court Square N
                                                     Lexington, MS 39095
                                                     Tel: (662) 834-2488
                                                     Fax: (662) 834-2628
                                                     Dbarrett@barrettlawgroup.com




                                                 2
